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      UNITED STATES O F AM ERICA                        )
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                                                        i         Feb fp 2021                   1
      JO HN RO BER T LUZURIAG A A G UINAG '                               #                     ,
                                          !                      Ayoct.h s.NQDW                 i
                                                                                                ,
           Defendant.                                           UVERK U S D.SY.CT.
                                               /            C   s.o-oF/
                                                                      .tA,-Miami         -...   r

                                    CRIMINALCUVER SHEET
      1. Didtllismatterorigiqatefrpm amatterpendingintheCcntralRegionoftheVnited States
      AttorneynsOflieepriortoAugtlst9,2013('Mag.JudgûAlieiaValle)?     YesX No
      2.    Did tlzis m atteroziginatùfrom a m attm'pmlding in theN oz-tllm'
                                                                           n Region of1he U llited Statès
      A'
       ttornelmsOm cepriortoAugtlst8,2014(MagrJudgeSltaniekV aynal'dl?                  Yes X No
      3.        tltislnatterolioinate.from a m atterpending in the CentralRegion oftheUnited States
            Did '                                                                   .

      AtttlnleynsOficepriortoOctober3,2019(Nlag.JudgeJaredStraussl?               YesX No

                                              Rcspectfully subm itted,

                                              D /LNIEL KA1'lN jACTIN G CHIEF
                                              CRIM INA L DIW SION ,FRAUD SECTION
                                              U .S,D EPM TM ENT OF JUSTICE
                                          By: W x..v               X
                                                    ALEX/XNDER KRAM BR
                                                    TRIAL ATTORNEY
                                                    Ctim inalDivisioln Fraud
                                                    Section U .S.Depat-tm cntof
                                                    zustiqe Cotu-tID No.
                                                    :43502240
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                                                                            JTet:
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                                      UNITED STATES TSTIUCT COURT
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                                                         Sblllhcrn DistrictofFloriila
                   UnitejlStates.
                                o.fAlnqrica                                           )
                               :C.                                                    )
         JOHN RQBERT LUZURI
                          AGA AGUIMAGA                                                )   csseNo.1;21-mj-o2270-AOR
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          CRIMJNAL COM PLAINT BY TELEPIIONE OR OTIIER RELIABLE ELECTRONIC M EANS
      1.thecolnplainantin thiscaseaslatelhaltlpelbllowingistrtyeto111çbeslofnlyknowlcdjeand.belief
Onoraboutthcdatcls)of-             2914-2020               il1,
                                                              1I1ecotlntyOI-      Miami-Dàde       il1thû
        southqtn       District-of-               Flq-r
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          18 U.S.C.: 1956(h)                        èqnspiracy tolaunderbriberyproceedsinU.S.currençythtougb bank
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                                                    concemlthe nature.lccation.sot?rtie.mvnership,afld controloftheproceeds




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            liscriminalconlplaint.isbased tln thcse ûncts;
SE: ATTACHED AFFIDAVIT.



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Date        2/10/21                                                                                 -... --...-,,...
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City andMatc;                                Miami,Florida                                                Magistràte Jgije Ali       cia M.Ot-   azo Réy#.s..                                    -
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    Case 1:21-mj-02270-AOR Document 3 Entered on FLSD Docket 02/11/2021 Page 3 of 13
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                   OLIVIA HENIKA, .being duiy str
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       follows :

                    1.   2 am a ,
                                special Agen'
                                            t with the Departtnent of .l
                                                                       -lomel.and
       Securityr Homelarïd Security Investit
                                           gations' (HSI ) and h'
                                                                ave been s:
       employed since 2.
                       019. I am currenkly assigned to the HXI Off1ce in
       Key West r Florlda . A s part of my duties, I investigate crimes
       involvln: violations of customs (Title 19r United Stateà Codè),
       irnmigçqti.orl (Title 8r tlrlitqd St'atqs Codê)r and okhet f'ed'
                     ,                                                qt'àl layràr
       which include Antl-MoneL y Launderlng (M L ) statu'  kes 18 U .S .C . $: .

       1956r .1957 r and l960 . I havé received training .     on tho  e propër
       investltgqtive techniques fclr these Vip 1at ions, includ irtg pbta'inir)tg
                                                     .

       and apalyzir)g evldence to determlne t>e existence of ctlminql
       activity; the use of surveillance techniques ; and the application
       énd executidn of arredt and seatch warrànts . I have qs:isted in
       several investigations that included suspected violations pf thê
       above-mentioned AML statutes . I hold a bachelor's degree and a
       master's degree ln Criminoloqy from the 'University of Florida . I
       am a gçaduqte of the Crintinal Investigâ'tp,
                                                  r Training Prograp fg'çm
       the tnedera1 Law Erffotçement t'raining Center (FLETCJ) in Glyncor
       Georgia . Prior to becoming a Special Aqent I was employed as an.
       Intelligence Analyst      for the Monroe     County Sheriff'à. Office,
       qssigrèed to the South Florida I
                                      -sigh Intensity Dtug Traff1dkttlg .
                                               .
                                                                        sssq
       (2IDYA), where I asslsted wlth the lnvestigations of drug
       traffieking and.money laundering organizations. In 2018, I became
       a Certlfied Anti-Money sLaundêring Spéciél1st (CAMSI, for which myL
       certi/ication is active.
                    t.   1 am fàrùiliar with the fàcts and circumsf:nces $et
       fbrth below from my personal participation in the, investigation,
       incltndin: my examinatioh of te/or
                                        rts y
                                            arld rédordsr kitness linterviep
       rlotes r àty participation in witness interviews r and conversationy
       kzit.h other law enforcement officers and other individuals . because
       this affidavit ls bëing submittk    ed ftar the limited purpose of
       eàtablishing prob. able caytse , it does not lncli -lde all th'ë facts
       that I have learned duçling the course of my investigatiort. Where'
       the contents of documents and the actions , statements and
       conversatlo'
                  n s of others @re reported herein, they'are rpported in,
       subytanoê and 1/ part , utèless not.ed otherwisq .

                  3.   You: affiant has particdipatvd           a cçiminql
       i'nvestlgatlon into JOHN ROIERT LUZO IAGA AGUINAGA , a cikizen o f
       Ecuador who ià currently located in Florida . Basèd on the eyidence.
       gathered thkough this investigationr there is probgble dasso tö
       believe that from ln or around 2014 khrough in or around 202U,
       JOHW ROBERT LUZURIAGA AGUINAGA , together with.others r conspired to
       launder monetary instrùments r in violation of Title 18r Qnited
Case 1:21-mj-02270-AOR Document 3 Entered on FLSD Docket 02/11/2021 Page 4 of 13




   Statés Codej Section 1956 (17)r that 1s.
                                          : khowlng that th:
                                                           e, property
   involyed irf .
                a finanr
                       cial transgction rçprêserlted the pxroçqeds of
   qpecified unlawful activity, namelyr, a bribery scheme 'that
   violated Unitèd States and Ecuadorian krlbery law , conducted and
         ted to conduet. sbtch 'a fii
   attempx                          nahcial t'
                                             ransadtion which i,n fqct
   involved the proceeds of specified unlawful ackivityr with Ehe
   lntent to promote the carrying on of specified unlaw ful activity
   arld knowfng that the transactlon waa déàiqned lrt whole or in patt
   to cqncegl and disguiae the nature r the locatlon, the sourçe, khe
   ownership, and the control of the proceeds of specitied unlawful
   acti,
       v lty r in violation of Title 18 r Unitecj States Coder Sx
                                                                ectlons
   19.
     5t (a)(1 )(A )(1 ) al
                         hd (a)(1 )'(B )(i).
               4.  Briloery of a fcirelgn o/ficial, a felony vlolatlori
                    .

   of the FCPA : Tikle 15, United States Code r Sections 78dd-2 and dd-
   3, and brlbery of a public official of Ecuador, a felony violation
   of the pehal cpde of the Republic of Ecuadorà are spegified
   uplawful actlvitles
                     ,
                       r puryuant to Tltle. l 8r United States Code r
   Sections 1.956'(c )(7 )(B )(iv ) and (D ).
              THE U .S . FOREIGN CORRUPT PRACTICES ACT (FCPA )

               5.          g/èiarlt is aware that Eh'
                                                    e FCPA #as epacted by
   Congress for the puçpose ofr among other things r 'making it unlawful
   to   act corruptly    in   furtherancë of an offecr promise,
   authorlzation, ()ç payment of money or anything of value, yitectly
   or lndlrectlyr tb a fbçeign o'fflcial for tlne purpose t)f influencipg
   a foreign official ( inducing a foreign offici'  a l to take or omit to
   take certain
           .      acts r and securi'
                                   flg an iiproper  advantage  irî order to
   obtair
        '
          j or retaitn business for 'or with , or dirêçt business io any,
   person . 15 U .S .C. 55 78dd-1r et seq .
               6.    The   FCPA    prohibits    udomestic   concernsA-khich
   inclùde companteà that àre' incor/orated in the Uinlted States br
   have'their principal place pf business in the United States-or any
   officer, director, employee or agent of such domestic concern or
   stockholder acting on behalf of such domesti,   c co,ncern, from making
   use of the mails or any meana or lnstrtnlttehtality of interstate
   commerce corruptly in furtherance of an offerr payment r promise to
   pay, or authorization of the payment of any moneyr or offerr gift,
   pröltise to give, or authorization of Ehe giving of anything t)f
   valuer to a fpceigr) official
                              .
                                     c?r to a pprson , w h i14 knoxihg that
                                                            .

   al'
     l o.r part of such money or Ehing of value would be and had been
   offered , glvenr or promised to a foreign offlcialkr for purposes of
   (1 ) irtfluenclnq'act; ç).
                            rc d/cisions of such foreigri off1d141 in h .i4
   b/ficial capaciEy; (iij
                         ' inducing such. fo.
                                            reign ofTicl.
                                                        al 'to do oY'
   omit to do acfs in violation of the law ful duty of such officialï;
    (11i) àecuring any lmprqper advant.
                                      age;             (iv ) indudinr
                                                                    j such
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   forèign offlcial to use h1s influence with a forelgn govetnment or
   agencies or instrumentalities thereof to affect or influence acts
   or decisions of such government or agencies or instrumentalities,
   in order assist the domestic concern to obtain     retain business
   for or with, or direçt business tor an# person.          U .S.Ci @ 78dd-
   2 (a ) and (h )(1 )(b).
             7.   The FCPA also prohibits any N'person/'-other than a
   domestic concern-whil,e in the territory of the United States, from
   corruptly maklng use of the mails of aAy means or instrumehtality
   of interstate commerce or to do any othqr act in fvrtherance of an
   offerr paymentr promise to paYr or authorization of the payment of
   any moneyr or offer, gift: promise to glve, or authorization Qf
   the giving oè anything oF value: to a foreign offlclll or to @
   person, while knowing that all or part of such money or thing of
   value would be and had been offeredr glven, or promised to a
   foçeign officlalr for purposes of, (1j influencin: acts or deciyipns
   of such: foreign official in h1s official capaciiyp (ii) inducing'
   such foreign official to do or omlt to do acts in violation o'f the
   lawful duty of such official; (i1i ) securing any improper
   adva'
       ntage ; or (iv ) induding such fbreign official to t
                                                          gse h1s
   i'nflulnce  with    a   foreign   governmenk   or    agencies   or
   instrumentallties thereof to affect or 1nfluence acts or decisions
   of such governmept or agencies or iristrumentalities s in order
   assist the such person to obtain or retain business for or withr
       direct business to r any person . 15 U .S .C . 5 78dd-3 (a ) and.
       (1).
                          THE ECUAD OR IAN PENAL CODE
                   RXLATING TO BRIBERY OF A PUBLIC OFFICIAL
              8.     From my revlew of an snglish translation of thé
   Pehal Cclde Qf the Republic of Ecuqdor'(the MEcuadoriah Penal Code'/)
   in effçct from at least in or around February '2014 through the.
   present contains the following       relevant provision     relating to
   briher# of a publlc offlcial, as translated from Spanisb:
                     a.   Article 28O (Bribery): Any public servant B'hd
   any person that acts on behalf of a state power within any of the
   State's institutions, listed in the Constitution of the Xepublicr
   that receives or accepta, directly or through a thlrd partyr an
   improper economic benefitr or any other type of benefit for himyelf
   or for a third party, either to carry out, omlt, expedite, delay
   or condition matters related to his or her functlons, shall be
   punished with a tert of itprisonment of one to three yeats . If
   the public servant executes an act or fails to carry out the proper
   act, he or she shall be punished with a term of lmprisonment of
   three to five years. If the conduct described is carrie: out ln
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   ordèr 'tb cofttmit anothér crimê , th'
                                        e public servant shall be pitnish.ed
   with a term of imprisönmqnt ot five to seven yqaçs . Any person
   who in arly way offers r gives or promises any public servant a
   donation r gift r promis' e r advantage, or improper economic bèneflt
   in ordér fo.  t- such servant to cavry ouwt , omlt, expedite r del.ay, or'
   conditlon matters related to his or her funetion sr or i'n o'rder to
   commit a crime, shall be punished with the same penalties lssued
   against public aervarits .

                        R ELEVANT ENT ITIES AND IND IV IDUA LS

              9:     Ihstituto    de   Seguridad      Sociil   de   la   Pplidiq
   Nàcional    (i'ISSPOL'') wq
                             as    Vhe       Ecuadoriln   public    inskitutl'
                                                                             on
   responsible for managing the financial contributions by Ecuadobrian
   pollce offtcers tokard '      thelr sool.ql securlty . ISSPQL w:4
   contrpllqd tjy th4 goAhex
                           rrtmerlt of Eçuador. and pervoçmed à èurlction
   tha: Ecuador treated as its ovzn', and w' as an M instrumentality'' of
   the Ecuadorian government as that term is used ln the FCPA , Title
   l5/ Llnited Stytes Coder S.ection 78dd-2 (h)(2,)(A ) aràd ddrs (f)(2)(&)k
                  JQkN BOBERT LNZYRIAQA AGUINAQA/ was a citiz4n QF'
   Ecuador Who served as the IXSPUL Risk Director from a: least 'in or
   around 2014 through at least in or around 2019. JOHN RDBXKT
   LUZURIAGA AGUINAGA also served on ISSPQL'S Investment Cbttittqe
   and had influence over ISSPOL investmçnt decisions . JOHN AOKEAT
   LUZURIAGA AGUINAGA was a u foreign x
                                      o fficial'' as that t erm is dêfined
   ln the FCPA , Title 15, United Stat es Coder Section 78dd-2 ('h )(2 ) (A )
   nhd dd-3 (f )(2 ) (A ). JQHN ROBERT LUZURIAWA AGUINAGA is clgvt,  ently
   located lp Fl.oa
                  ridq .

              11 . *'U .S . lnvestment       Fund    Companies t'' a group of
   companies whose identities a.ri known to your affiant r were
   inco/porated. in Florlda , Each of the US Irïvestme'
                                                      nt Fund Companles
   was #'Mdomestic concern'' as that term i;5defined in the FCPA, Title
   15, Uni'ted Stat.
                   es Cod.e, Section 78dd-2 (h )(1 )(.B').
             12 .  Mlnvestment Advisorr'' an lndividual kzhose,identity
   is known to your affiatàt , waà a citizéo of Ecuqdor who yprved as
   the manager, p'
                 resident r and director of the U .S.
                                                 ,  ? lnvestment Fund
   Companies . Investment Advisor was an officer r director, empl'
                                                                 oyee ,
   o.
    t- agent of a. Nhdome4tic conce.
                                   rn'' as those tetms are usêd in t'he,
    FCPA, Title 14, Unlted states Code, Section 7ddd-2 (a).
              13 .    nInvkstltent Adyisor Panlma Corhpany 1,'' a çômpany
   whose identity is known t'   o your affiant, was a Panama registered
   company tht   at obtained lucrative I'  SSPOL investmpnt xm anagement
   . usif
   b     less k Investmèrlt Adviso/ Panama Cqmpany 1 was gpntrolled by
   Investment Advisor .

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              '
              11 . nIrivestrtent Advlsor Pànama Colttpariy 2 ,'' à côntpériy
   whose identity ls krm wn to youç affiant, w4s a èqnama r'
                                                           mgiytaez
                                                                  recj
   company that was controlled by Investment Advl
                                                lsor .

              OVERV IEW OF THE SCHEME TO LAUND ER BR IBERY PROCEED S

              15 .    As describêd in greatez
                                            r detall belokzr JOHN ROBERT'
   LUZO IAGA AGUINARA , While agtirïg a's th+ ISSPOL R1sk Dj.rèc.tor arjd
   Sitting on ISSPOL's Investment Committeer received '  bribes Y'
                                                                .otalipg:
   at least approximately $1r397,O66 from the U .S. Investment Fund
   Colttpanies controlled by Inve/tnker)t Advisorr in exchange fo'
                                                                 r usltlg'
   his official oosition to tàssist the lj.S . Ihvestment Fund Cslpp4niesr
   I'nvestment Advisorr and others to obtain and rekain busin.ess for
   Investment Advisor, Investment Advisor Panama Company lr and
   otheçy in vlolgtion of the FCPA and Ectlador's law against btiber:
   of a public officlal .

              16. Tn order to conceal and disguise the proceeds of'
   the bribery scheme and with the intent to promote the carrying on
   oj' the krikery schemp, JOHN ROBERT LUZURIAGA AGNINAGA aljd
   lflvestment Advi'sor r together with othe'rsr Arlong öthet things,
   caused bribery proceeds to be laundered' through bank accounts in,
   the United States for Ehe benefit of JOHN ROBERT LUZO IAGA AGUINAGA
   grld pthersir in violation of U .S k money .
                                              laundering laws .
                             INVESTMENT Tne sAcTlolis
              17 . From my teviçw c?f emails r contçacts r dqcgmenty r
   bank records r witness inkerviews and from.my particlpation in Ehi.s
   lnvesfigatlon, I have learnéd, among other thlngs r the following :L

                  17 . Frèm at least in.or arotlnd 2 O5
                                                      l 4 thxougti qt 1.eàg
                                                                          àt ln
   or around 2O19, JOHN ROBER: LUZW IAGA AGUINAGA , as the R1sk
   Director of ISSPOL and sitting on ISSPUL ''S Investment. Commi.tteer
   had influence ove,r I.
                        SPSPOL inveàtment decisiöns r i.ncltlding Who
   ISSPOL hired tp invest it$ funds .
                      In o,
                          r around Dmcembet 1015 and Januar/ 20l6.
                                                                 r ISS'PUL.
   entered into an agreement with Tnvesimen'  t Advisor Panama Company
   2 (Mswap transaction''). This agreement kzas reviewed and approved
   by .
      JOHN ROPERT LUZURIAOA AGUIIW GA grkd Qthe r s s.



                  20: The   pqym/nt     skreams    resultincl frcint t'
                                                                      he      swgp
   transaction       demonstrates     that   Investment     Advisor's   corqpanie:
                                                                                 s
   received m ore money earller and mo re money ov erall at th e expe.n s e
   of ISSPQL . For elapplet i. n 20. 17 r Inveytmen'
                                                   t Adfi:
                                                         stpç Patlàrta.Cçmpany
   l received approximately $40.5 million as a result of Ehis swap
   transaction . By      contrast r    und er. the. sw ap   ts
                                                             ransactlon r   ISSPOL
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   redèlved appizisxifhàtel# $20 l
                                 ttillion 1tï 2017. As a reàùlt Qf sùch
   disczyepancies r b'etween ip '
                                o r around 2016 and j:n br arqund 2 019,
                                                                       r
   Investment Advisor, khrough h1s Panama companies r xprofited
   ap/rcjxlmately $65 mlllion on this swap transactlon .
                21 . To/eatlteiqt Advi.sLtY Panàrqa v
                                                    compal
                                                         h'
                                                          y 1 redkivècl i'ts
   payrqBrèts resul irlg frorq the gwap transaction irl i. ts bank gccotlnt
   in th'
        e Unit'ed States .            A porùion of that money was transferred
   into U .S . Investmelit Ftand Companies' balik accounts in ths United
   St lt ès .

                2.
                 R . Ftàrther, fçom gt leMst 114 or arotjnd 20.
                                                              1 4 thro'ugh at.
   least ln o.  r around 2 019r ISSPOL and Investment Advisor Panama
   Company 1 entered into bond repurchase transactions whereby
   Inv estm ent Advisor Pahfama Company 1 sold bonds t.o ISSPQL with a
                .             .

   prbmise to repurchase the boncls at a set date for a set apour!t
   that included inkerest .
                        23 . Investment Advisor Panama. Company 1 has failed to
   pedt payment obvligations to IS.
                                  S POL on morp thgn half o'
                                                           f the' bond
   rept
      grçhase tt-anbactio,ns. As ()f in tlr qlto't'  lr)d Jugust 2é20r
   approximately $111 mi'llion in repurchase agreement'  s were overdue
   out of a totàl of apprsklhtateljr $205 riillion .
                         THE BRIBERY AND MONEY LAUNQERING SCHEMES

                     24k rrom a: legst in or arounrd 2014 through at,leaat in.
   or qround        202t, Investment Advisor and ùhe entiiies he controllzd
   paid more         than approxi.
                                 mately ,$2.6 million to ISSPOL officials=
   including        approximat/ly $1,397r066 for tlnë beneflt of JOHN ROBERT
   LUZW IXGA         AGNINAGA-whP had influence tlver ISXPOL's inyestpent
   decislons .

             25 . Investment Advlsor directed payments to JOHN ROBERT
   LUZURIAGA AGUINAGA in at lea'st thrèe uays : (1 ) payments o f'
   qpptoxlmqte,
              1&' $1t9r226 made by cljeck payab)e to JO/N RQBERT
                                                        .           .

   LUZUAIAGA AGUINAGA; (2) pa.
                             yments c)f appro'
                                             ximatelry $66*3,0O0 made to
   relatives of JUHN ROBERT LUZURIAGA AGUINAGA for his ben'
                                                          efit ; and
   (3) payments 'to a U .S .'-based. bank accdtlrft '
                                                    in the naltte of oin. ôf
   %he 7 .$ . Inveatmeat Fgnd Companle.s &nd fcjr whlch Ipvëstmen. t Advisor
   held signatory authority but for which JöHN Rö'BERT LUZURIAYA
   AGUINAGA held a debit card in h1s narde that he used .
                                                        for purchases
   and casin withdrawlly' of ap'
                               proximàte).y $$1à/840.
               2'6 ltrou't'' àffi/nt '
                                     has noti ildentified' 'àny legal
    investments JOHN ROIERT LUZUR IAGA AYUINXGA had with Investment
   Adviao'r or t17e companies Investment Advis.
                                              o,r cont'
                                                      ro.lled . A review
    Qf uvallable llnancfal docnmqnts hgs n4t. uncqvert'ed q1
                    .             .   .     .       .   .  4# inltial
                                                               -         .




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   payàtèrft/ ot li
                  nvestments made by JOHN ROBERT LVZW IAM ARUIN/GA fbr
   whiçh Investment Advisor would be ntanacin? or Irfa'inilainirlg nlpney orà
   behalf of JUHN ROBERT LUZDR IAGA AGUINAGA .

           February 2016 Transfer of $80,000 for the Benefit of JOHN
           ROBERT LUZUR IA GA A GU INAGA

             27 . F'rom in,or aroun: Decëmber 2115 th/oti4h in (
                                                               pzkaround
   January 2t16, JOHN RdBXRT LUZURIAGA AGUINAGF and Investment
   Advisor exchanged numerous text messages regarding the closing of
   the sw&p transaction wi'th ISSPQL .

              28. Durin/ this tinteft'ame, and continuinq aE
                                                           fter, JOHN
   AOBERT LUZURIAGA AGUINAGA and Invesiment Advisor also exchanged
   text messages regarding Investment Advisor providing financial
   benefltà to JOHN ROBERT LUZURIAGA AGUINAGA , éndr am6ng othêr
   thi/g/à Investment Advisor provided mçney for the beoefit Qf JOHN
   RöIERT LUZUR IAGA AGUINAGA . In addition, JOHN RUBERT LUZURIAGX
   AGUINAGA and Investment Advlso'r promoted the carrying on of the
   briijery scheme and doncqaled and disgutyed, arqon q other thlngs ,
   thê nature, ihe oxneràhip, an: the conit'ol of the proceeds of Ehe
   brib ery scheme by, among otg
                               h er 'thingsr causing'r and aqreeing to
   cauée, par ents to be madè intor and expenditurés out of,r à U .'
                                                                   S .-
   based bank acgount for whiçh Ihvestment Adviàpr
       '
                                                . held Sigrtâtptjr
   authorlty but for phlçl
                         q JOHN ROKERT LUZUXIAGA AYUINAGA held a debit
   card in his name that he used.for purchases and.r
   x                                                 cas'h withd'
                                                                rawals .

                 2 9 . For ex/fùpler on ol
                                         r about December 31 r 2015', JQHN
   ROBERT LUZURIAGA AGUINAGA sent a telt .me4sage to Tnvpstmertt AdviyQr
   (ttanslated Vrorq Spanish ): uThank you ftyr fixing My finaricial life
   and that of my family .''

              30 . On or about February 23r 2016, I'nvestment Advisor
   caùsêd a trartsfer v1a check from a U .S . Irivestmpnt F'
                                                           u rid Compahiês
   bank account in ihe pmotlnt of'4pproximately $0OrO00 to a relative
   of JOHN ROBERT LUZA IAGA AGUINAUA . The relative o f JO2N ROBERT
   LUZURIAGA AGUINAGA deposited the c. heck ih     U .S .Mbased .b.ank
   account .

   B.      December 2017 Tran'
                             sfers of Approximatply $20 ,0QQ for the
           Benefit of JOHN RUBERT LUZURIAGA XUUINAGA
              31 . On or about Ejecember 9r 2 017 r JOHN RUBER: LUZW IAGA
   AGUINAGA directed Invqstm8nt Advisoe to rqake paymentà for h1à
   ben/flt to accounts hpld by two pf his rêlétives'. Specifixcyll.yr on
   or about December 6, 2' 017, JOHN RSBXR: LUZURIAUA AGUINA:A senù a
   t ext m essage to Inv estm ent Advisor d irecting h im to put ''10,' into
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                 r öne r'ele
    an account fo'         atlve         another M10'' 'into an acçôtjnt
    another relative .

                    On or about December l2r 2017, Investment Advisor
    caused two separate checks for approximately $10,000 reach to be
    isyued from the U .s .-based bank accounts of U .; . Investment Fund
    Compgnles to the two relatives identified by JOHN ROBXRT LWZURIAGA
    AGUINAGA . These checks were deposited in U.s .-based accounts .

    C.   June 2018 Yransfer oE Approximately $189,000 for the Benefit
         of JOHN ROBERT LUZUR IA GA AGU INA GA

               33.         about June 14, 2018, JOHN ROBERT LUZURIAGA'
    AGUINAGA and Investment Advisor sent each other text :messages
    regardlng ISSPOL investments . During this communication, JOHN
    ROBERT LUZURIAGA AGU INAGA Lent a text message to Investment Advisor
    with an image of a spreadsheet attachèd . Thiy àprpadsheqt showed
    different ISSPOL investments and a line item for percentages owed
    to individuals, including an individual identified as N'JL .'' The
    total owed      JL os this spreadsheet was appçoximately $2894226.
                 3(. On or aboût June 15, 2018, Investmeht Adviyor,
    caused a U .s-based bank account of U .S. Investment Fund Companies
    to pay JOHN ROBERT LUZURIAGA AGUINAGA approximately $189,226 via
    check. The check wa& deposited the same d;y tn the Southern.
    Distrlct of Florida. Travel records indicqte that 50th Investment
    Advis'
         or and JOHN ROBERT LUZURIAUA AGUINAGA were physicallr
                                                             y present
    in the Southébn District of Florida when the check was signed and
    deposited .

    D.   May 2019 Transfer of Approximately $40,000 fo r the Bene fit of
         JOHN ROBER T LU ZUR IAGA A GUINA GA

                    On or about May 2, 20.19, Investment Advisor, caused
    a U .s-based bank account of U .S. Investment Fuhd Companies to pay
    JOHN ROBERT LUZURIAGA AGUINAGA apprulimately $40,000 via check.
    The check was deposited at a U .S. bank in the Southern District of
    Florida on May 6, 2019.

    E.   Ttansfërs to nPortafolio JLH A cdoûnt for the.Bdnefit of JOHN
         ROBERT LNZURIAGF AGUINAGF
                 36. zn or around November 2Q14, lnvestme'
                                                         nt Advtsor
    opened a U .s.-based bank accounù in khe name of N'PortaFolio JL''
    that was funded by Investment Advisor Panama Company .
                                                         1 and the
    U .S. Invqstmeht Fund Companiey . Investment Advisoç hqd sole
    slgnatory authority over Ehe account. Investment Advisor caused a
    debit card for thls account to be issued to JOHN ROBERT LUZURIAUA
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                   ur a fflant ls not aw a re of vah'
   A GU INA GA . Yo'                                # de/osity lttade          JOHN
   ROIERT LUZURIAGA AGUINAGA into i'
                                   he accburlt.
               37 . On or about January 12, 2O18, w:
                                                   hiie physic.
                                                              ally   .

    located    the Southern Dlstrict of Florlda r Investment Advisor
    sent text mességes to JOHN ROBERT LUZV IAGA AGNINAGA requestihg
   informatiorl regarding ISSPOL investment& 'arid whethe: the m'
                                                                oney hqd.
   been credited . J'OHN ROBERT ZUZURIAGA AGUINAGA confirmed the money
   had baeen credlted and Investment Advisor stated this was
   (translated from Spynish ) ugood news ./' K HN R9BERT LUZURIAO
   AGUI#AGA stated the amount I'  VXPOL had io invest 4nd 'Investmept.
   Advisor told J0'HN ROBERT LUZURIACG AGUINAGA he was working. on it
    afld sqnt p téxt lttessate statilhé *'47908.''
                            ,
                                                 '




                38 , On or about January 12 , 2010, Investmei  ttt Advisor'
    caused U .S . 'Irïvestmênt Fund Cpmpaniqs è.b trarlsfer dpprbximately
    $t$r908 into 'the Portafolio JL account.
                39 . Between on or about November 20, 2018 and on or
    about Nçvember 23r 2018, JOHN FOBERT LWZURIAGA AGUINAGA Màde fou:
                                                          .           t
    ATM withdrawali from ilhe' Portafolio JL qccourtt in Midmi, Florida
    totalinq approximate'
                        ly $1r526.
                40.. On or about February 27 , 2019, Investment Advisor,
    whi).e ln Miami, ,Florida, wlthdrew qppr6ximately i
                                                      $15,0Q0 càsh frôrf
                                                                       t
    ihe Portafolio JIU dekit catd adqount to putchpse a cayhiér's cheçk.
    payable to a relative'of JöHN ROBERT LUZA IAYA AUUINAYA .
               41 .   Based on the foregoing, there is prdbable cause to
    believe that r from in or around 2014 through at .least in or arbund
    2020, Investmqnt Advisor, an officejtr direetors lntployee, öt aqer)t
    of a ''domesùic concern'' under the FCPA , w illfully and corruptly
    made use of t17e mails and means and inst'
                                             rumentalities of interstate
    contmérce in furtherance of an offer, paymentr and promit;é to make
    payments for the beneTèit of JOHN KOBERT LUZURIAGA AGUINAJA fpr ilhê:
    purpose o f 1nfluenclng' JOHN ROBERT LUZURIAGA AGUINAGA to us e his
    offlcial capacity r securing an lmproper advaritage, aùd iriducing'
    JOHN RQBERT LUZURIAGA AGU INAGA to u.se his in fluencb: to a ffect
    IVSPOL's investment de'cisions, in order to               assist. the U.X.
    Investment Fund Companies in obtaining and retaining buslness forr
    and   directlng    buslrfess    to ,   Inv/étnqelht   Advlso.
                                                                rr       Inv8stme'nt
    Advisdfr's Panama compapiesr and othersr in violqtion of Title 1$r
    United States Code, Section 78dd-2.

               42 .   Based on     the foregolng , there is also probable
    cause to belleve thit, f'rom ilk or around 2014 through at least in
    or around 2020r IrlvestmepE Advisorr While in the terrftorv of'Ehe
    United states , willfully and corruptly made use of the mails and

                                           9
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    means éljd ihstrumentalities of iritefstate cornrkëredè or took an act
    ip furthexrgnce o f an offe.
                               r r pgyment , glld p'
                                                   romi'
                                                       se ko make payments
    fbr the benefit of JOHN ROBERT LUZURIAGA AGUINAGA for the purpose
    of lnfluencing JOHN ROBERT LUZURIAGA AGUINAGA to use his official
    capacity, securing ah ilproper advantaqe, and inducing JOHN ROBERT
    LUZURIAGA XGUINAGA to use h1s influence to affect ISSPOL'S
    investment deci.
                   sions, in order to assist Investment Advisor in.
    obtainlng and retainlng business for, and dlrectlng business to,
    himselfr Inveatment Advisbr's Panàmà compapiey, and othqrsr in.
    vlolation of Title 15, United àtates Code, Sectlon 78dd-3.
                 43 .   Based on the' foregoing, and based on my review of
    the Kduadorian Penal Codé, tbetè is alào ptçbable, cause to believè
    that the btibery scheme conducted by Investment Advisor, JONN'
    RöBERT LUZUR IAGA AGUINAGA , and others as described abover in which
    JOHN ROBERT LUZURIAGA AGUINAGA received bribes from Investment
    Advisor ln exchange forr among other thihgsr obtaining and
    retaining lnvestment buainess fçom ISSPOL, was an offense Jnder,
    ân ter aliar Ecuadorian 1aw prohibiting bribery of public
    officials .

              44 . Based 0,
                          rl .
                             the 'foregolng, ther,
                                                 e j.s also probablè
    cause kô believe thatr frkp in or atoupd 2014 through qt least in.
    or around 2 02,0, Investment Advisor r JOHN ROBXRT LUZURIXCG
    AGUINAGA ,    and    othebs   conàpired   to   conimlt   money   laundering .
    Specificqlly, there is probakle cause' to belieyq that In' vestmqnt
    Advisor conspired w1th J9HN ROBERT LUZURIAGA AGUINAGA / and otheçp r
    to launder bribery proceeds in U .S . currency through bank accounts,
    ihcluding bank accounts in the United Statëy, k1th the intent to
    promote the carrying Qn of apepified unllvful actiyity and ih bfder
    to conceal ùhe naturer locaiion, sourcer ownership, and control of
    the proceeds, in vlolatlon of Title 18r United States Code, Sectioh
    l956 (h).                                                                       I




                                                                                    !




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                                                COFCLUSION
     Based on the foregoing , I believe that probable cause exists to
     issue a critninal c6mplainr and arrest warrant chàtging JOHM ROBERT
     LUZUBIAGA AGUINAGA with violating Title i8/ United States Code,
     section 2:56 (h).
     Your dffiant thereforé Hespectfully retuests that the Court enter
     a cpmplaint for ehe Yoregoing violation: and issue a warrant for
                                                                   .

      the arrest of JOHN ROBERT LUZURIAGA AGUINFGA .




                                                   OLIVIA HENIKA
                                                   SPECIAL A@XNT
                                                   HQMELFI D SECURITY IV/ESTIGATIONS



      Attested to by the applicant ih accordance with the requitements
      of Fed.R.Crim.P. 4.1 by                     Vm' What's& pls 10th day of
      February 2021 .                                   -

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             ..
                  , vr   .-,   .
                                   ,
                                       j.
                                       c.
                                        -
                                        ,.
                                       ,,', ,       .
      HONORABLE ALIC JA M .                 '
                                            AZO-REYES
      UNITED STATES MAGISTKATE JUDGE
      SOUTHE RN DISTRICT OF FLO RIDA
